   Case 8-18-73782-reg                Doc 14       Filed 07/12/18   Entered 07/12/18 10:29:55




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:

          PATRICIA ROSE LAMANNA                                      Chapter 7
                                                                     Case No.: 18-73782-reg
                              Debtor,

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                      ORDER APPROVING RETENTION OF AUCTIONEER

        Upon the annexed application (the “Application”) of Richard L. Stern, Esq., as the
 Chapter 7 Trustee of the estate of (the “Debtors”), by their attorneys, Macco & Stern,
 LLP, seeking authority to employ Maltz Auctions, Inc. as auctioneer (“Auctioneer”) for the
 sale of property located at 107 Wilson Place, Bellmore, NY 11710 in which the Estate
 possesses an interest; upon the Affidavit of Richard B. Maltz, President of Maltz
 Auctions, Inc. and the Court being satisfied, based upon the representations contained
 in the application, that the Auctioneer does not hold or represent any interest adverse to
 this Estate, and is a disinterested person within the meaning of 11 U.S.C.§101(14); and
 no notice of this Application being required under Bankruptcy Rule 2014(a) it is,

        ORDERED, that under 11 U.S.C. §327 (a) and E.D.N.Y. LBR 6005-1(a), the
 Trustee is authorized to employ Maltz Auctions, Inc. as auctioneer with respect to
 conducting a public auction sale of the Estate’s interest in the property located at 107
 Wilson Place, Bellmore, NY 11710,

        ORDERED, that all fees and reimbursements of expenses to the Auctioneer shall
 be subject to proper application and order of this Court pursuant to E.D.N.Y LBD 6005-
 1(b).


 No Objection
 Office of the U.S. Trustee

 By__/S/ Stan Y. Yang 7/10/2018__




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Dated: Central Islip, New York                                           Robert E. Grossman
       July 12, 2018                                                United States Bankruptcy Judge
